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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                        CASE NO. 21-CR-60020-DIMITROULEAS/SNOW


  UNITED STATES OF AMERICA


  v.


  RICHARD WASERSTEIN, and
  FRANK BOSCH, JR.,
                         Defendants
  __________________________________/
  EXPEDITED UNOPPOSED MOTION TO CONTINUE CHANGE OF PLEA HEARINGS
          The United States, through undersigned counsel, respectfully moves this Court to continue

  the change of plea hearings for defendants Richard Waserstein and Frank Bosch, Jr.

  (“Defendants”) currently scheduled for tomorrow, February 10, 2022. In support of the motion,

  the Government states as follows:

       1. Defendants’ change of plea hearings are currently scheduled for February 10, 2022 at 1:30

          p.m. [D.E. 475.]

       2. Several former patients of Compass Detox (or their family members) have filed motions to

          be recognized as victims for the purposes of the Crime Victims Rights Act. [D.E. 408,

          426, 471.] Those patients, through their attorneys, received notice of the change of plea

          hearings (and all other scheduling matters).

       3. In addition, on February 9, 2022, the Government updated its victim assistance website for

          this matter to reflect the changes of plea scheduled for February 10, 2022. In order to allow




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         additional time for any potential victims to review the website, the Government hereby

         requests that the changes of plea be continued to at least February 16, 2022.

     4. In addition, one of the Government’s attorneys is currently in trial in United States v.

         Agresti, No. 18-CR-80124-RUIZ. Closing arguments are scheduled for February 10, 2022

         and the jury is scheduled to begin deliberations on that date.

     5. This motion is not being filed to create an unwarranted delay, and the relief requested will

         not prejudice the Defendants.

     6. Pursuant to Local Rule 7.1(a)(3), counsel for the Government has conferred with counsel

         for Richard Waserstein and Frank Bosch, Jr., who do not oppose the Government’s request

         for a continuance.

         WHEREFORE, the Government respectfully requests that the changes of plea for

  Defendants Waserstein and Bosch be continued to at least February 16, 2022.

  Dated: February 9, 2022                              Respectfully submitted,

                                                       JUAN ANTONIO GONZALEZ
                                                       UNITED STATES ATTORNEY
                                                       SOUTHERN DISTRICT OF FLORIDA




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                                                JOSEPH S. BEEMSTERBOER
                                                ACTING CHIEF, FRAUD SECTION
                                                CRIMINAL DIVISION
                                                DEPARTMENT OF JUSTICE

                                         By:    /s/ Jamie de Boer
                                                JAMES V. HAYES (FL Bar # A5501717)
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 9, 2022, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF.

                                         /s/ Jamie de Boer




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